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 3
     Attorney for Defendant
 4   JOHN HOLLISTER MAHAN
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 6

 7                           IN THE UNITED STATES DISTRICT COURT FOR THE
 8                                   EASTERN DISTRICT OF CALIFORNIA
 9

10   UNITED STATES OF AMERICA,                            )   Case No: 2:13-CR-0300 GEB
                                                          )
11                   Plaintiff,                           )
                                                          )   STIPULATION REGARDING
12          vs.                                           )   EXCLUDABLE TIME PERIODS UNDER
                                                          )   SPEEDY TRIAL ACT; [PROPOSED]
13   JOHN HOLLISTER MAHAN, et al.,                        )
                                                          )   FINDINGS AND ORDER
14                   Defendants.                          )
                                                          )   Date: 1/24/2014
15                                                        )   Time: 9:00 a.m.
                                                          )   Courtroom: Honorable
16                                                        )   GARLAND E. BURRELL, JR.

17

18
                                                  STIPULATION
19

20          Plaintiff United States of America, by and through its counsel of record, and defendants, by and

21   through their respective counsel of record, hereby stipulate as follows:
22          1.       By previous order, this matter was set for status on January 24, 2014.
23
            2.       By this stipulation, defendants now move to continue the status conference until February
24
     28, 2014 at 9:00 a.m., before the Honorable Garland E. Burrell Jr. and to exclude time between January
25
     22, 2014 and February 28, 2014 under Local Code T4. Plaintiff does not oppose this request.
26
27          3.       The parties agree and stipulate, and request that the Court find the following:

28                   a.      The government is in the process of producing discovery associated with this

                                     STIPULATION AND ORDER TO CONTINUE STATUS CONFERENCE
                  Case 2:13-cr-00300-GEB Document 28 Filed 01/24/14 Page 2 of 4

     case.
 1

 2                    b.     Counsel for defendants request additional time to review discovery, to conduct

 3   investigation and research related to the charges, to discuss potential resolutions with his client, and to

 4   otherwise prepare for trial.
 5
                      c.     Counsel for defendants believe that failure to grant the above-requested
 6
     continuance would deny them the reasonable time necessary for effective preparation, taking into
 7
     account the exercise of due diligence.
 8
                      d.     The government does not object to the continuance.
 9

10                    e.     Based on the above-stated findings, the ends of justice served by continuing the

11   case as requested outweigh the interest of the public and the defendants in a trial within the original date
12   prescribed by the Speedy Trial Act.
13
                      f.     For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,
14
     et seq., within which trial must commence, the time period between the date of the parties' stipulation,
15
     January 22, 2014 and the new status conference on February 28, 2014 , inclusive, is deemed excludable
16

17   pursuant to 18 U.S.C.§ 3161(h)(7)(A), (B)(iv) [Local Code T4] because it results from a continuance

18   granted by the Court at defendants’ request on the basis of the Court's finding that the ends of justice

19   served by taking such action outweigh the best interest of the public and the defendants in a speedy trial.
20           4.       Nothing in this stipulation and order shall preclude a finding that other provisions of the
21
     Speedy Trial Act dictate that additional time periods are excludable from the time period within which a
22
     trial must commence.
23
             IT IS SO STIPULATED.
24

25                                                                  BENJAMIN B. WAGNER
                                                                    United States Attorney
26
        DATED: 1-22-2014                                    By:     /s/ Samuel Wong
27                                                                  Assistant United States Attorney
28

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                            STIPULATION AND ORDER TO CONTINUE STATUS CONFERENCE
                Case 2:13-cr-00300-GEB Document 28 Filed 01/24/14 Page 3 of 4

        DATED: 1-22-2014                                                   /s/ Patrick K. Hanly
 1                                                                         Counsel for Defendant
 2                                                                         John H. Mahan

 3
            DATED: 1-22-2014                                               /s/ Matthew Bockmon
 4                                                                         Counsel for Defendant
                                                                           Russell E. Gilmore
 5

 6          DATED: 1-22-2014                                               /s/ Michael Bigelow
                                                                           Counsel for Defendant
 7
                                                                           Richard D. Hemsley
 8

 9

10                                                   ORDER
11
            The Court, having received, read, and considered the stipulation of the parties, and good cause
12
     appearing therefrom, adopts the stipulation of the parties in its entirety as its order. Based on the
13
     representation of the parties and good cause appearing therefrom, the Court hereby finds that the failure
14

15   to grant a continuance in this case would deny defense counsel reasonable time necessary for effective

16   preparation, taking into account the exercise of due diligence. The Court finds that the ends of justice to
17   be served by granting a continuance outweigh the best interests of the public and the defendants in a
18
     speedy trial. It is ordered that time beginning from the parties' stipulation on January 22, 2014, up to
19
     and including the February 28, 2014, status conference shall be excluded from computation of time
20
     within which the trial of this matter must be commenced under the Speedy Trial Act pursuant to 18
21

22   U.S.C. § 3161(h) (7) (A) and (B) (iv) and Local Code T 4, to allow defense counsel reasonable time to

23   prepare.

24
            IT IS SO ORDERED.
25
            Dated: January 23, 2014
26
27

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                          STIPULATION AND ORDER TO CONTINUE STATUS CONFERENCE
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             STIPULATION AND ORDER TO CONTINUE STATUS CONFERENCE
